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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                    )
SALVATORE MANCUSO GOMEZ,                            )
                                                    )
        Petitioner,                                 )    Civil A. No.: 20-2250 RJL
                                                    )
v.                                                  )
                                                    )
CHAD F. WOLF, ACTING SECRETARY,                     )
U.S. DEPT. OF HOMELAND SECURITY, et al.             )
                                                    )
        Respondents.                                )
                                                    )


                          PETITIONER’S STATUS REPORT

        Pursuant to the Court’s Minute Order of August 5, 2022, and due to a lack of

agreement between the parties on the relevant matters to brief the Court upon, Mr.

Mancuso (Petitioner) respectfully forgoes a “joint” submission and rather submits the

following status report regarding his administrative process and requests an

immediate status hearing.

     1. On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter

        and filed an Amended Complaint [ECF No. 14] on September 1, 2020.

     2. On September 2, 2020, the Court held a telephone motions hearing on

        Petitioner’s Motion for a Temporary Restraining Order [ECF NO. 6], which

        had been filed on August 18, 2020. The Court denied Petitioner’s Motion and

        instructed the parties to file a Joint Status Report on September 16, 2020,

        which the parties did.




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    3. On October 15, 2020, the parties filed a joint motion to stay proceedings and

       submit monthly status reports.           The Court granted the joint motion and

       ordered the parties to file a joint status report on or before November 12, 2020.

    4. As the Court noted during the September 2, 2020, hearing, and as the parties

       confirmed in their September 16, 2020, Joint Status Report [ECF No. 18], and

       the October 15, 2020, Joint Motion to Stay Proceedings [ECF No. 19],

       Petitioner is proceeding through an administrative process regarding his

       removal from the United States and the determination of the country to which

       he will be removed.


                                        Current Status

       Petitioner’s administrative proceeding is active and open and shall remain so

for the foreseeable future.1 In light of the extensive length of Petitioner’s immigration

administrative proceeding, as well as his prolonged civil detention, Petitioner

formally requested that the government reconsider its position regarding his

potential removal to Italy.

       Petitioner submits to the Court that the atypical delay in Petitioner’s

administrative proceeding is by no fault of his own and notes that the thirty (30)

months he has been detained pending removal to his original country of designation

(Italy) is unreasonable and unjustified as a matter of fact and law.




1
  Government counsel implies that the delay in Petitioner’s administrative proceeding is due to a
filing he recently submitted. To be clear, such filing was in accordance with the current status of
that proceeding and Petitioner’s rights thereunder.

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       In July of this year, the parties agreed to continue the stay of proceedings in

the instant matter.        Unlike previous status reports, the parties expressly

acknowledged to the Court that efforts at resolution were underway. By email on

Friday, September 16, 2022, government counsel informed Petitioner the government

had not changed its position and would continue to seek Petitioner’s removal to the

Republic of Colombia.2

       WHEREFORE, given the unreasonable and unjust delay in his administrative

proceeding, Petitioner respectfully requests that the Court schedule a status hearing

so that the parties may fully brief it regarding recent developments and their impact

upon the instant matter.


Dated: September 19, 2022




       2 For more than a month and in anticipation of the filing of the parties’ joint status
report today, undersigned counsel sent emails to, and left several voicemails for, newly
substituted government counsel seeking the government’s position regarding a change of
country designation. Despite new government counsel’s specific request that undersigned
counsel provide a detailed question via email so that he could respond thereto, government
counsel did not respond until last Friday, more than three (3) weeks after that question was
posed.


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                                 Respectfully submitted,

                                 COUNSEL FOR PETITIONER:

                                       RETURETA & WASSEM, P.L.L.C.




                                       By:____________________________
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                           CERTIFICATE OF SERVICE

        I hereby certify that I have caused a copy of this pleading to be served

electronically through the ECF system to all parties herein this 19th day of September

2022.




                                    By: __________________________
                                       Manuel J. Retureta, Esq.




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